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                        UNITED STATES BANKRUPTCY COITRT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re: MATTHEW R. BOZYK &                           )
       GINA M. BOZYK,                               )
                                                    )       No. 20-18563
                                                    )
                                                    )       Chapter 13
                              Debtor                )       Judge Janet S. Baer
                                                    )       Trustee Glenn B. Stearns


                                    NOTICE OF MOTION

TO:    See attached Service List

      PLEASE TAKE NOTICE that on May 20, 2022, at 9:30 a.m., I will appear before the
Honorable Janet S. Baer, or any judge sitting in that judge's place, and present the Debtors'
MOTION TO APPROVE SALE OF REAL ESTATE, a copy of which is attached.

This motion will be presented and heard electronically using Zoom for Government No
personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

To appear by video, use this link: https:llwww.zoomgov.com/. Then enter the ID and
password.

To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-7666.
Then enter the meeting ID and password.

Meeting ID and Password. The meeting ID for this hearing is 160 731 2971 and the password
is 587656. The meeting ID and password can also be found on the judge's page on the court's
web site.

If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection
is timely filed, the motion will be called on the preseptment date. If no Notice of Objection is
timely filed, the court may grant the motion in advance without a hearing.

                                             Law Office of Gregory 1. Martucci, P.e.



                                             By:~~~        ______________________
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                                CERTIFICATE OF SERVICE

       I, Gregory J. Martucci, an attorney, certify that I served this notice by mailing a copy to
each person to whom it is directed and depositing the same in the U.S. Mail at Roselle, Illinois,
with the proper postage prepaid, on April 26, 2022, except for parties served via ECF.




Law Office of Gregory J. Martucci, P.C.
203 E. Irving Park Rd.
Roselle, IL 60172
(630) 980-8333
Ill. ARDC No. 6185842
Email: greg@martuccilaw.com
                Case 20-18563             Doc 49    FiledSERVICE
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                                                                    Entered 04/25/22 17:34:50                          Desc Main
                                                     Document      Page 3 of 15
Matthew R. Bozyk                               -arryia!iK;-Clo1iIS--PorUOlloTerVlces,      LlI~----'       PRA ReclUvables MiDaqellleiir,~----<------­
400 Manea Lane #217                               4515 NSanta Fe Ave. Dept. IPS                        .   PO Bol 41021
Wheeling, IL 60090-3805                           Oklahoma City, OK 73118-7901                             Norfolk, VA 23541-1021



-PemiYiJac Loan SerVlce-s~--Ltc                    U.S. Bankruptcy Court                                   Ally
  c/o Codilis , Associates, PC                     Eastern Division                                        P.O. Box 380901
  15W030N. Frontage Rd., Suite 100                 219 S Dearborn                                          Bloomingtonl MN 55438-0901
 Burr Ridge, IL 60527-6921                         7th Floor
                                                   Chicago, IL 60604-1702

 AllyBank                                          Ally Bank                                               American Education Service
 AIS Portfolio Services I LlI                      PO Box 130424                                           1,1 .0. Box 61047
 4515 N santa Fe Ave. Dept. APS                    Roseville, MN 55113-0004                                Harrisburg, PA 17106-1047
 Oklahoma City, OK 73118-7901


  (p)lWIK OF AMERICA                               Bank of America, B.A.                                   calvary E'ortfolio Services
 PO BOX 982238                                     POBox 982284                                            4500 S, 129tb E. Ave., Ste. 165
 EL PASO TX 79998-2238                             E1 Paso, TX 79998-2284                                  Tulsa, OK 74134-5953



                                                                                                   \
 Capital One                                       Capital One Bank                                        capital One Bank (USA), N.A.
 P.O. !ox 6492                                     P.O. Box 30281                                          by American InfoSourae as agent
 Carol Stream, XL 60197-6492                       Salt Lake City, OT 84130-0281                           4515 NSanta Fe Ave
                                                                                                           Oklahoma City, OK 73118-7901


 Cataldo Ambulance Service                         Cavalry SPY I, LLC                                      (p) JPMORGAH CHASE BANK N A
 Administration , Billing Office                   500 Summit Lake Drive, Ste ·400                         BAmilP'!Cy MAIL mAlE TDK
 137 Washington St., P.O. Box 435                  Valhalla, NY 10595-2321                                 700 1W4SAS LANE FLOOk 01
 Somerville, MA 02143-0006                                                                                 MONROE LA 71203-4774


 (p) CITIBANK                                      (p)CITIZENS BANK B A                                    Discover
 PO BOX 790034                                     ATTN BmRUP'rCY 'l.'DM                                   P.O. Box 6103
 ST LOllIS MO 63179-0034                           ONE CITIZENS BANK WAY                                   Carol Stream, IL 60197-6103
                                                   JCAl15
                                                   JOHNSTON RI 02919-1922

 Discover BalIk                                    Iloale Depot                                            Ies Collation Service
 Discover Products Inc                             P.O. Box 6497                                           P.O. Box 646
 PO Box 3025                                       Sioux Falls, SD 57117-6497                              oak Lawn, IL 60454-0646
 New Albany, OH 43054-3025


 Illinois Student Assistance Commission            JPMorgan    Chase Bank, IU.                             JPMorgan Chase Bank, N.A.
 1755 Lake Cook Rd                                 s/b/mlt Chase Bank USA, N.A.                            s/b/m/t Chase Bank USA, N.A.
 Deerfield, IL 60015-5209                          c/o National Bankruptcy Services, LLC                   c/o Robertson, Anschutz & Schneid, P.L.
                                                   1,1 ,0. Box gOB                                         6409 Congress Avenue, Suite 100
                                                   Addison, Texas 75001-9013                               Boca Baton, FL 33487-2853

 LVNV Fundinq, LLC                                 Mandrarich Law GrOup, LLlI                              Penny Mac
 Resurgent Capital Services                        P.O. Box 109032                                         6101 Condor Dr" Ste. 200
 PO Box 10587                                      Chicago, It 60610-9032                                  Alpaugh, CA 93201
 Greenville, SC 29603-0587
               Case 20-18563           Doc 49     Filed 04/25/22 Entered 04/25/22 17:34:50             Desc Main
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          LOan SetVlces;'~----"--'''~
~Pei\iiyMac                                     --lPl'·pumor;:tOl!~l)CIA'l'Bn.tc---'-·'

 P.O. Box 2410                                   PO BOX 41067                             P.O. Box 960061
 Moorpark, CA 93020-2410                         HORrOLl VA 23541-106'7                   Orlando, it 32896-0061



 Synchrony Bank                                   Thomas Noffsinger, Jr.                  (plUS BANK
 cia PRA Receivables Manaqement, LLC              5632 S. Hatoma                          PO BOX 5229
 PO Box 41021                                     Chicago, IL 60638-3327                  CINCINNATI OR 45201-5229
 Horfolk, VA 23541-1021


 US Dept. of Education                            United Collection Bureau, Inc.          Wichita State University
 2401 International                               5620 Southwick Blvd., Ste. 206          Office of Financial Operations
 P.O. Box 7859                                    Toledo, OK 43614-1501                   1845 Fairmount Box 38
 Madison, WI 53707-7859                                                                   Wichita, IS 67260-9700


 Gina M. Bozyk                                    Glenn B Stearns   (vi.:?, t'( r)                          v
                                                                                          ""Patrick S Layng 't l'1'-€
 829 Valley Lane                                  801 warrenville Road Suite 650            Office of the U.S. Trustee, Reqion 11
 Geneva, IL 60134-2443                            Lisle, IL 60532-4350                      2l9SDearbornSt
                                                                                            Room 873
                                                                                            Chicago, It 60604-2027
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re: MATTHEW R. BOZYK &                           )
       GINA M. BOZYK,                               )
                                                    )      No. 20-18563
                                                    )
                                                    )      Chapter 13
                             Debtor                 )      Judge Janet S. Baer
                                                    )      Trustee Glenn B. Stearns


                    MOTION TO APPROVE SALE OF REAL ESTATE

       NOW COlVlE the debtors, MATTHEW R. BOZYK & GINA M. BOZYK, by and

through their attorney, LAW OFFICE OF GREGORY 1. MARTUCCI, P.C., and move that this

honorable Court enter an Order approving the sale of debtors' home, located at 829 Valley Lane,

Geneva, IL 60134, and in support of their motion, the debtors state as follows:

   1. Debtors, MATTHEW R. BOZYK & GINA M. BOZYK, own the home located at 829

       Valley Lane, Geneva, IL 60134.

   2. In debtors' Chapter 13 petition, filed on 10112/20, the stated fair market value of said

       home was $213,000.00 and a mortgage lien was listed in the amount of$185,652.00. On

       10/30/20, PennyMac Loan Services, LLC, filed a Proof of Claim in the amount of

       $187,176.83. (See pp. 1-3 of Proof of Claim attached hereto as Exhibit A)

    3. On 2/18/2022, PennyMac Loan Services, LLC was granted relief from the automatic stay

       and withdrew its claim. (See attached Exhibit B)

    4. On or about 4111122, the debtors listed their home for sale with BRUMMEL

       PROPERTIES, located at 58 Chicago Rd., Oswego, IL 60543.
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   5. That after listing and showing the property, an offer to purchase was made by BRIAN G.

        HEWSON on 4112/22, for $278,000.00.            (See pp. 1 and 13 of Real Estate Contract

        attached hereto as Exhibit C)

   6.   That the Buyer, BRIAN G. HEWSON, also entered into a Price Escalation Addendum to

        Sales Contract. (See attached Exhibit D).

   7. That the parties ultimately agreed to a sales price of $285,500.00.

   8. The attached Affidavit by STEPHEN GORSKI ofBRUlVI:NIEL PROPERTIES, states his

        belief that $285,500.00 is the fair market value for this property at the present time,

        considering current market conditions. (See attached Exhibit E)

   9. Mter paying off the existing mortgage and the estimated closing costs and applying the

        $30,000 homestead exemption to which the debtors are entitled under 735 lLCS 5/12­

        901, it is anticipated that funds will be available to creditors.

   10. The estimated plan balance due to the Chapter 13 Trustee is $6,000.00.

   11. Debtor requests that the Court direct the closing agent to promptly pay up to $6,000.00 of

        the net proceeds in excess of the Sellers' $30,000.00 homestead exemption, to Glenn B.

        Stearns, Chapter 13 Trustee, P.O. Box 2368, Memphis, TN 38101-2368.

        WHEREFORE, the debtors, MATTHEW M. BOZYK & GINA M. BOZYK, respectfully

request that the Court grant the relief requested herein.

                                                        Respectfully  s~~~~)_ _
                                                        &"
                                                            / "'f;4~':"'
                                                          c;/.','     ••
                                                                         . ~--;:
                                                                           ~1-
                                                                        "-'Z~-
                                                                                 . ~
                                                                                 -   ..- , - -..~-'....:::::,

                                                         Attorney for Debtors
Law Office of Gregory J. Martucci, P. C.
203 E. Irving Park Rd.
Roselle, lL 60172
(630) 980-8333
Ill. ARDC No. 6815842
Email: greg@martuccilaw.com
                         Case
                          Case20-18563
                               20-18563 Doc  497-1Filed
                                         Claim           04/25/22
                                                      Filed 10/30/20 Entered 04/25/22
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                                                                                 Document          1 ofMain
                                                                                                Desc    27
                                                   Document        Page 7 of 15
    Fill in this information to identify the case:


    Debtor 1                   Matthew R.

    Oebtor 2
    (Spouse, ifliliog)         Gina M. Bozyk. aka Gina M. Noffsinger


    UnHed States Bankruptcy Court for the:                       Northern                 District of       Illinois
                                                   ----------­                                          (State)

    Case number             20-18563
I                          ------------------------------­
    Official Form 410
    Proof of Claim                                                                                                                                                                 04/19
    Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make
    a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

    Fliers must leave out or redact infonnation that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents
    that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages,
    and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an
    attachment

    A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152,157, and 3571.

    Fill In all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


                         Identify the Claim


                                            :,,-.P-snnyMac Loan Services LLC
    1. Who Is the current                N1ime,Offfie'current creditor (the persqn or entity to be paid for this claim)
        creditor?
                                         Other names the creditor used with the debtor _ _ _ _'--_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



                                         .No
    2. Has this claim been               Cl Yes. From whom? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___
       acquired from someone
        else?


     3. Where should notices
        and payments to the
        creditor be sent?
                                         PennyMac Loan Services, LLC                                                   PennyMac Loan Services, LLC
        Federal Rule of                  Name                                                                          Name
        Bankruptcy Procedure
        (FRSP) 2002(9)                   P.O. Box 2410                                                                 P.O. Box 660929
                                         Number       Street                                                           Number     Street

                                         Moorpark                CA                       93020                        Dallas               TX                            75266-0929
                                         City                    State                     Zip Code                    C~y                  State                        2ipCode


                                         Contact phone (866) 629-4570                                                     Contact phone (866) 629=4510

                                         Contact email BK@pnmac.com                                                       Contact email BK@pnmac.com

                                            Unifonn claim identifier for electronic payments in chapter 13 (if you use one):


     4. Does this claim amend               .No
        one already filed?                  Cl Yes. Claim number on court claims registry (if known) _ _ _ __                                 Filed on --::-:::-:---:-:::-::­

                                            .No
                                            o Yes. Who made the earlier filing? _ _ _ _ _ _ _ _ _ __




                                                                                         EXHIBIT                                                                        page 1
     Official Fonn 410

                                                                              I.IS
                                                                                           A
             Case
               Case20-18563
                       20-18563 Doc      497-1Filed
                                     Claim             04/25/22
                                                   Filed  10/30/20 Entered     04/25/22
                                                                       Desc Main        17:34:50Page
                                                                                   Document       Desc
                                                                                                     2 ofMain
                                                                                                          27
             Give Information About the Claim as Document         Page
                                                 of tbe Date the Case Was8Filed
                                                                           of 15
6. Do you have any number         1:1       No
   you use to identify the        •         Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:,__5>!l5~00lj0,-_ __
  debtor?

7. How much is the claim?                    $187176.83                                 Does this amount Include interest or other charges?
                                                                                        CI No
                                                                                        •   Yes. Attach statement itemizing interest, fees. expenses, or other
                                                                                                  charges required by Bankruptcy Rule 3001 (c)(2)(A).



8. What is the basis of the       Examples: Goods sold. money loaned, lease. services performed. personal injury or wrongful death, or credit card.
claim?
                                  Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                  Limit disclosing information that is entitled to privacy. such as health care infonnation.


                                              Monev Loaned


9. Is all or part of the claim    1:1       No
secured?
                                  •         Yes. The claim is secured by a lien on property.

                                              Nature of property:

                                              •     Real estate. If the claim is secured by the debtor's principal reSidence. file a Mortgage Proof of Claim
                                                                 Attachment (Official Fonn 410-A) with this Proof of Claim.
                                              1:1    Motor Vehicle
                                                                                    829 Valley Lane, Geneva, IL 6Q134
                                              1:1    Other. Describe:
                                              Basis for perfection:
                                                                                             Mortgage/Note

                                              Attach redacted copies of documents. if any. that show evidence of perfection of a security interest (for example. a
                                              mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been filed or
                                              recorded.)

                                              Value of property:
                                                                                                $_-----­
                                              Amount of the claim that is secured:               $187 ,176.83
                                               Amount of the claim that is unsecured:            $,_ _ _ _ _ _ _...:.., (The sum of the secured and unsecured '
                                                                                                                           amounts should match the amount in line 7.)


                                               Amol:ln~ ne.C85sary to cure any.default as of the date of the petition:
                                                  ~w'···'·                                                                           $15.674;99
                                               Annual Interest Rate (when case was filed)           3.875%

                                               • Fixed
                                               Cl Variable

10. Is this claim based on a          •     No
lease?                                1:1    Yes. Amount necessary to cure any default as of the date of the petition•               $,-----­

 11. is this claim subject to a       •     No
 right of setoff?                     1:1   Yes. Identify the property: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




 Official Fonn 410                                                          Proof of Claim                                                          page 2
             Case 20-18563
               Case 20-18563 Doc 49 7-1Filed
                              Claim           04/25/22
                                           Filed 10/30/20Entered 04/25/22
                                                           Desc Main      17:34:50 Page
                                                                     Document        Desc
                                                                                        3 ofMain
                                                                                             27
                                        Document       Page 9 of 15
12. Is all or part of the claim
entitled to priority under 11
                                         .No
                                         IJ Yes. Check all that apply:
U.S.C. § 507(a)?

A claim may be partly                       I:J Domestic support obligations (including alimony and child support) under
priorlty and partly                              11 U.S.C. § 507(a)(1)(A) or (a)(1)(8).
nonpriority. For example,
in some categories, the                     I:J Up to $3,025~ of deposits toward purchase, lease, or rental of property or seNices for                 $i--_ _ _ __
law limits the amount                             personal, family, or household USe. 11 U.S.C. § 507(a)(7).
entitled to priority.
                                            IJ Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                                 bankruptcy petition is filed or the debtor's business ends, whichever is earlier.
                                                 11 U.S.C. § 507(a)(4).                                                                                 $._----­
                                            IJ Taxes or penalties owed to governmental units. 11 U.S.C. § 507{a)(8~
                                                                                                                                                        $i--_ _ _ __
                                            I:J Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).
                                            IJ Other. Specify subsection of 11 U.S.C. § 507(a)L) that applies•
                                            • Amounts ara subject to adjustment on 4101122 and el/ery 3 years after that for cases begun on or after the date of adjustment.




     person;---------~~k]~ru;mru~~~c_------------------------------------------------------------------1
completing this proof          IJ        I am the creditor.
of claim must sign
and date it.                   •         I am the creditor's attorney or authorized agent.
FRBP 9011(b).                  I:J       I am the trustee,ror the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim         I:J       I am a guarantor. surety, endorser. or other codebtor. Bankruptcy Rule 30OS.
electronically. FRBP
5005(a)(2) authorizes
                               I understand that an authorized signature on this Proof of Claim seNes as an acknowledgment that When calculating the amount
courts to establish local
                               of the claim, the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a
signature is.
                               I have examined the information in this Proof of Claim and have Iii reasonable belief that the information Is true
A person who files a           and correct.
fraudulent claim
could be fined up to
$500,000, imprisoned           I declare under penalty of perjury that the foregoing is true and correct.
for up to 5 years, or
both.
18 U.S.C. §§ 152.157,          Executed on date                  10/2712020
                                                          MMIDD I YYYY
and 3571.
                                       lsI Peter C. Bastianen ARDC# 00244346
                                     Signature
                               Print the name of the person who is completing and signing this claim:

                               Name                             Peter C. Bastianen
                                                        First name                                 Middle name                                  Last name

                               Title


                               Company                         Codilis & Associates P.C.
                                                        Identify the corporate servicer as the company If the authorized ageotIS a servicer.

                               Address                         15W030 North Frontage Road, Suite 100
                                                        Number                Street

                                                               BUI]   Ridge                                            IL             60527
                                                        City                                                          State          ZIP COde

                               contact phone                                                                           Email               N[)..Four@iI.csleaal.com
                                                                                                                                                                    File 1'14020.05694
 NOTE: This law firm is a debt collector.




 Official Form 410                                                              Proof of Claim                                                               page 3
Case
 Case20-18563
      20-18563 Doc
               Doc 49
                   48 Filed
                      Filed 04/25/22   Entered02/18/2212:58:01
                            02/18/22 Entered   04/25/22 17:34:50 Desc
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                                                                      Main
                      Document       Page 10
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

InRe:                                         )                BK No.:     20-18563
Matthew R. Bozyk                              )
Gina M. Bozyk aka Gina M. Noffsinger          )                Chapter: 13
                                              )
                                                               Honorable Janet S. Baer
                                              )
                                              )                Kane
               Debtor(s)                      )

                           ORDER MODIFYING THE AUTOMATIC STAY


        THIS CAUSE coming to be heard on the motion of PennyMac Loan Services, LLC, a secured
creditor herein, for relief from the automatic stay, the Court having jurisdiction over the subject matter,
due notice having been given, and the secured creditor alleging that the mortgage held by said creditor
is in default and that the security interest of said creditor is not adequately protected:

  WHEREFORE, IT IS HEREBY ORDERED THAT:

  (1) Pursuant to 11 U.S.C. section 362(d), PennyMac Loan Services, LLC and its principals, agents,
successors, andlor assigns are granted relief from the automatic stay provisions of 11 U.S.C. section
362(a) by modifying said stay to permit them to pursue all non-bankruptcy remedies and workout
options as to the property commonly known as 829 Valley Ln., Geneva, IL 60134.

   (2) The claim of PennyMac Loan Services, LLC is withdrawn. No further payments are to be
disbursed to PennyMac Loan Services, LLC on its proof of claim.

  (3) Ru1e 400 1(a)(3) is waived and PennyMac Loan Services, LLC may immediately enforce and
implement this order granting relief from the automatic stay.

                                                            Enter:


                                                                      Honorable Janet S. Baer
Dated: February 18,2022                                               United States Bankruptcy Judge

  Prepared by:
  Peter C. Bastianen ARDC#6244346
  Codilis & Associates, P .C.
  15W030 North Frontage Road, Suite 100
  Burr Ridge, IL 60527
  (630) 794-5300
  File No. 14-20-05694


                                                  EXHIBIT

                                          I        6
OocuSign Envelope 10: 539EE3F6-E4FF-4753-8F41-9A0306662837
            Case 20-18563           Doc 49         Filed 04/25/22 Entered 04/25/22 17:34:50                      Desc Main
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                      MULTI-BOARD RESIDENTIAL REAL ESTATE CONTRACT 7.0

 1    1. THE PARTIES: Buyer and Seller are hereinafter referred to as the "Parties."
 2 Buyer Name(s) [PLEASEPRINTJ_B_ri-'-a_n_G..;;.......;.H_e;....;w-'-s.:.....o.:.....n'-'---__________________
 3 Seller N ame(s) [PLEASE PRINTJ_M_a_t_th_e_w_Bo_z..;..y_k_a_n_d_G_i_n_a_B_o_zy;;...k_ _________________
 4 If Dual Agency applies, check here tJ and complete Optional Paragraph 29.
 5 2. THE REAL ESTATE: Real Estate is defined as the property, all improvements, the fixtures and Personal Property
 6 included therein. Seller agrees to convey to Buyer or to Buyer's designated grantee,                          the Real Estate with
 7 approximate lot size or acreage of         Less Than .25 Acre                                               commonly known as:
  8   829 Valley Ln                                                         Geneva                     IL         60134 Kane
  9 Address                            Unit It (If applicable)               City                      State       Zip       County
 10 Pennanent Index Number(s): 1202454026                             lJ Single Family Attached   IZI Single Family Detached lJ Multi-Unit
 11 If Designated Parking is Included: # of space(s)             _ _---'; identified as space(s) #      . location _ _ _ __
 12 [CHECK IYPEJ    0 deeded space, PIN:                                           0 limited common element 0 assigned space,
 13   If Designated Storage is Included: # of space(s)                   ; identified as space(s) #      ; location _ _ _ __
 14   [CHECKIYPEJ 0 deeded space, PIN:                                             0 limited common element 0 assigned space.
 15 3. FIXTURES AND PERSONAL PROPERTY AT NO ADDED VALUE:                    All of the fixtures and included Personal Property
 16   are owned by Seller and to Seller's knowledge are in operating condition on Date of Acceptance, unless otherwise
 17   stated herein. Seller agrees to transfer to Buyer all fixtures, all heating, electrical, plumbing, and well systems
 18   together with the following items at no added value by Bill of Sale at Closing [CHECK OR ENUMERATE APPliCABLE ITEMS]:
 19X.! Refrigerator          _ Wine!Beverage Refrigerator X_ light Fixtures, as they exist           _ Fireplace Gas Log(s)
 20 X.! OVen/Range/Stove X_ Sump Pump(s)         C            X_ Built-in or attached shelVing     X_ Smoke Detectors
 21 X_ Microwave             _ Water Softener (unless rented) X_ All WindowT.reatments & Hardware X_ Carbon Monoxide Detectors
 22 X_ Dishwasher          X _ Central Air ConditiOning          Satellite Dish                      _ Invisible Fenre System" Collar & Box
 23     Garbage Disposal       Central Humidifier              _ Wall Mounted Brackets (AVtrV) X_Garage Door Opener(s)
 24 _ Trash Compactor        _ Central Vac & Equipment         _ Security System(s) (unless rented)    with all Transmitters
 25X_ Washer               X_ All Tacked Down Carpeting        _ Intercom System                   X OutdoorShed
 2SX_ Dryer                X_ Existing Storms & Screens        _ Electronic or Media Air Filter(s)   _ Outdoor Playset(s)
 27     Attached Gas Grill   _ Window Air Conditioner(s)       _ Backup Generator System           X _ Planted Vegetation'
 28X_ Water Heater         X _ Ceiling Fan(s)                  _ Fireplace Screens/Doors/Grates X _ Hardscape
 29 other Items Included at No Added Value: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-'--_ _
 30 Items Not Included: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-,--_ _ _ _ _ _ _ _ _ _ __
 31 Seller warrants to Buyer that all fixtures, systems and Personal Property included in this Contract shall be in
 32 operating condition at Possession except:                                                                   .
 33 A system or item shall be deemed to be in operating condition if it performs the~rorfpjtf' .ch it is intended,
 34 regardless of age, and does not constitute a threat to health or safety.         }I\                       C
 35 If Home Warranty applies, check here          1:1 and complete Optional Paragraph 32.          285,500

 36 4. PURCHASE PRICE AND PAYMENT: The Purchase Price is $              278,000.00         . After the payment of Earnest
 37   Money as prOvided below, the balance of the Purchase Price, as adjusted by prorations, shall be paid at Closing in
 38   "Good Funds" as defined by law.
 39      a) CREDIT AT CLOSING: [IF APPliCABLEJ Provided Buyer's lender permits such credit to show on the final
 40      settlement statement or lender's closing disclosure, and if not, such lesser amount as the lender permits, Seller
 41      agrees to credit $ 0.00             to Buyer at Closing to be applied to prepaid expenses, closing costs or both.
 42      b) EARNEST MONEY: Earnest Money of $ 5,000.00                    shall be tendered to Escrowee on or before L
 43      Business Days after Date of Acceptance, Additional Earnest Money, if any, of $ 0.00              shall be tendered
 44      by n/a                    ,20 _' Earnest Money shall be held in trust for the mutual benefit of the Parties by
                       5                                                                             I.AO;                   ~s
      Buyer Initial
      Address: 82  &  off       Buyer Initial
                               Ln. Geneva, IL 60134                        EXHIBIT
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513 THE PARTIES ACKNOWLEDGE THAT THIS CONTRACT SHALL BE GOVERNED BY THE LAWS OF THE STATE OF IWNOIS AND IS SUBJECT TO THE
514 COVENANT OF GOOD FAITH AND FAIR DEALING IMPLIED IN ALL ILLINOIS CONTRACTS.
515 THIS OOCUMENTWIlLBECOMEALEGALLYBlNtlNGCONTRPCTWHENSIGNED BY ALL PARTIES ANDDEUVEREDTOTHE PARTIES ORTHEIR PGENTS.
516 THE PARTIES REPRESENT THAT THE TEXT OF THIS COPYRIGHTED FORM HAS NOT BEEN ALTERED AND IS IDENTICAL TO THE OFFICIAL MULTI­
517 BOARD RESIDENTIAL REAL ESTATE CONTRACT 7.0.
                                                                                                      4/15/2022
518   April 12th. 2022
519~bY:                                                                                          D
520
521 Bu               ~eF..                                                                       Sell
522
523 Buyer Signature                                                                              Seller Signature
524 Brian G Hewson                                                                                      Matthew Bozyk, Gina Bozyk
525 Print Buyer(s) Name(s) [REQiuRED1                                                             Print Seller(s) Name(s) [REQUIRED1
526 808 Carol Ave                                                                                        829 valley Ln
527 Address [REQUIRED1                                                                            Address [REQUIRED]
528 Elgin IL 60123                                                                               __G_en_e_va_,_I_L_60_1_34_ _ _ _ _ _ _ _ _ __
529 City, State, Zip [REQUIRED1                                                                   City, State, 21u [IiFi21llREDl.         b       k        '1
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                                                                   ~h 0 t mal'I .com               773-2llY-1O'59, G'lna ozy @gmal .com
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531 Phone                                  E-mail                                                 Phone                                        E-mail
532                                                                              FOR INFORMA nON ONL Y
533    REIMAX All Pro St Charles 604
                                   M                                       477013618              Brummel Properties, Inc. 25547                                       478026245
534    Buyer's Brokerage         MLS #                                     State license #        Seller's Brokerage                           MLS #                    State license It
535    505 W. Main St.                                  St, Charles 60174                         58 Chicago Road                             Oswego                   60543
536    Address                                          City               Zip                    Address                                      City                     Zip
537    Kristen Deuter                                  70479               475163951              Stephen Gorski                               262240                   227262240
538    Buyer's Designated Agent                         MLS #              State license #        Seller's Designated Agent                    MLS #                    State license #
539    (630) 513·6100                                                                                                                                           (630) 551·8005
540 Phone                                                            Fax                          Phone                                                                 Fax
541 kristendeuter@gmail.com                                                                       steve@brummelproperties.com
542 E-mail                                                                                        E-mail
543    Kendall Monson                       kendall@monsonroselaw.com _____________________
544    Buyer's Attorney                     E-mail                                                Seller's Attorney                            E-mail
545    150 E Highland Ave Elgin                                      IL          60120
546    Address                              City                    State        Zip              Address                                      City                     State       Zip
547    8472012345
548    Phone                                                         Fax                          Phone                                                                 Fax
549    Caliber Home Loans                                        6304175748
550 Mortgage Company                                                 Phone                 Homeowner's/Condo Association (if any) Phone
551    Beth Gottlieb                                      6304175748          844-694-4523 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
552 Loan Officer                  Phone/Fax                                                       Management Co.jOther Contact                                          Phone
553 beth.gottlieb@caliberhomeloans.com
554 Loan Officer E-mail                                                                           Management Co./Other Contact E-mail

555 D1inoisReal EsI:ah! Ucense Law requires all offers be pJ.eSented in a timelymanne; Buyerrequesls venficalion that this offer was presenbad.
556 Seller rejection: This offer was presented to Seller on                     ,20 _ _ at _ : _ a.m./p.m. and rejected on _ _ _ __
557           ,20 _ _ at _ : _ a.m./p.m. _         ~ [SELLER INITIALS]

558 © 2018 IUitwis Real. Estate Lawye:rsA1l&Xiation. All righ16 reserved. Unauthorizeaduplicaticn oraltmUion of this fimn or any porttcn thereofis proldbitb:l. Ojfidalform available at www.inlla.crg
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560 . DuPage Coun/:y Bar Association . HeariUmd REALTOR® Organization· Grundy County Bar Association· Hometown Association ofREALTORS® ·llIiwis Real EsIatl1 Lawye:rs Association . Rlini Valley
561   AssociationofREALTORS®' Kane Coun/:y Bar Association· Konkakee.Jroquois-Ford County A1l&Xiation ofREALTORS®· Mainsinlet OrganizationojREALTORS®' McHenry County Bar Association·
562   North Shore-Barrington AssociaticP1 ofREALTORS® . North Suburban Bar A1l&Xiation • Northwest Su!mri:r:ln Bar AS/i(}CiaticP1 . Oak Park Area AssociaticP1 ojREALTORS® . REALTOR® AsscciaticP1 oj
563   the Fox Valley, Inc. . Three RlvmAs6OC!ation ojREALTORS • Will Qrnmy Bar Association· . .




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   1
   2                             PRICE ESCALATION ADDENDUM TO SALES CONTRACT
   3
   4    Property: 829 Valley Ln, Geneva, IL 60134
   5    Seller: Matthew Bozyk and Gina Bozyk
   6    Buyer: Brian G Hewson
   7
   8        1. This Addendum is presented to Seller as part of Buyer's offer to purchase Seller's property.
   9            Should Seller accept Buyer's offer, Buyer and Seller will have entered into a binding contract,
  lO            with the exception of any terms addressed in this Addendum.
  11        2. If, prior to Seller's acceptance ofBuyer's offer to purchase, Seller receives from another
  12            prospective purchaser a bona fide Competing Offer to purchase the property, with terms
  13            acceptable to Seller and a net Purchase Price (the Purchase Price less any identified Seller
  14            assistance and/or Seller financial concessions) higher than the net Purchase Price offered by
  15            Buyer, Buyer agrees that the Purchase Price of Buyer's offer is increased so that the Net
  16            Purchase Price is $ 2,500.00 higher than the net Purchase Price in the Competing Offer(s), up
  17            to a maximum Purchase Price of $ 290,000_00 . The Buyer acknowledges that the
  18            Escalating factor of this Offer and the Escalating Factors of Other Offers may result in
  19            multiple escalations and, in some cases, escalation to the Cap.
  20        3. If the Buyer will be financing a portion of the Purchase Price and this Escalation Addendum
  21            causes an increase in the Purchase Price under this offer, Buyer acknowledges that property
  22            may not appraise for the escalated price and agrees to proceed as follows (initial one):
  23                    The loan amount provided for in this offer shall remain the same, and the Buyer shall


                      lE~
  24                              ' crease in cash at the time of settlement.
  25           rg~1 M6 a~                                             OR
  26           ~                      ayment amount provided for in this Offer shall remain the same, and any
  27                     increase shall be added to the loan amount.
  28                                                                  OR
  29                     The loan amount provided for in this Offer shall automatically increase to be          %
  30                     of the new Purchase Price of the Property.
  31                                                                  OR
  32                      The loan amount shall not exceed $                and the Buyer shall pay any amount of
  33                     the increase in Purchase Price which is not included in the loan amount in cash at the
  34                     time of settlement regardless of the appraised value.
  35        4. Buyer acknowledges and affirms that this offer and Escalation Addendum has been made of
  36             hislher own volition and at hislher own discretion and Buyer agrees to hold all brokers,
  37             managing brokers and their firms harmless with regard to negotiation of the Purchase Price. In
  38             the event other offers are presented on this Property, Buyer acknowledges that a copy of the
  39             documents constituting this offer may be provided to the parties making such other offers.
  40         5. Seller will provide a copy of the competing offer to Buyer no later than the time Seller returns a
  41             copy of the executed Agreement to Buyer. Seller may remove the name of the other prospective
  42             purchaser, but may not remove any financial terms, including the Purchase Price or any Seller
  43             assistance or other Seller financial concessions.
   44                                                             EXHIBIT
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                                       433 Williams u g venue neva, linois 60134
                                           Phone: 630.232.2360 Fax: 630.232.1466
                                                  www.RAFV.REALTOR
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  45        6. Seller will fill in the new Purchase Price, as calculated based on the terms of Paragraph 2,
  46           between Buyer's and Seller's signatures below. Buyer understands and acknowledges that no
  47           further signature or initials are required on this form to have an executed Addendum. At the
  48           request of Seller, Buyer's lender, or any of the real estate licensees involved in the transaction,
  49           Buyer agrees to sign or initial, and date the Sales Contract to reflect any increase in the
  50           Purchase Price and/or any other changes in terms made in accordance with this Addendum.
  51           Buyer's refusal to sign or initial any changes made in accordance with this addendum will
  52           result in Buyer being in default under the terms of the Sales Contract. Changing the Purchase
  53           Price or other terms in the already executed Sales Contract to reflect any changes made by this
  54           Addendum does not change the Execution Date of the Sales Contract.
  55
  56     All other terms and conditions of the Sales Contract remain unchanged and in full force and
  57     effect.
  58
              '. (?o!:;
  59     BUYER ~~                            DATE: April 12th, 2022
  60     BUYER:    54ll003C6749846F...       DATE:
  61     BUYER: ____________________________ DATE: - --------
                                                   ______________
  62
  63             (A) The Purchase Price of the Sales Contract is increased from $ 278,000    to 285,500
  64             pursuant to the terms set forth in Paragraph 2 above. A copy of the Competing Offer is
  65             attached.
  66             (B) The Mortgage Contingency paragraph of the Sales Contract is modified to reflect the
  67             changes made in paragraph 3 above.
  68             (C) Seller has accepted Buyer's offer and has executed the Contract
  69
  70     SELLE                                                             DATE: 4/15/2022
                     r r - - o - - - - - ; - - ' - - - - - - - - - - - DATE: 4/15/2022
  71     SELLE
  72     SELLE       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ DATE: _______________
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                                       433 Williamsburg Avenue Geneva, Illinois 60134
                                           Phone: 630.232.2360 Fax: 630.232.1466
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